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                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

WAYNE FARMS LLC                                )       Civil Action No.: 20-5191
                                               )
                       Plaintiff,              )       Judge Feinerman
               v.                              )
                                               )       Magistrate Judge Valdez
JOHN DOE AND   ,                               )
LINKEDIN CORPORATION                           )
                                               )
                       Defendants              )
                                               )

                         MOTION OF WAYNE FARMS LLC TO
                      EXTEND TEMPORARY RESTRAINING ORDER

       Now comes Plaintiff, Wayne Farms LLC, (“Wayne Farms”) by its attorneys, Ladas &

Parry LLP and hereby moves this court extend the Ex Parte Temporary Restraining Order

against Defendant JOHN DOE (“TRO” Docket Nos., 13 and 14) an additional fourteen days, or,

in the Court’s discretion, convert to a Preliminary Injunction.

                              NOTICE OF THE CURRENT TRO

       Notice of the TRO has been sent: (1) to counsel who stated he was representing

Defendant LinkedIn Corporation (“LinkedIn”) on September 23, 2020 and (2) to JOHN DOE on

September 25, 2020 at the four electronic communication destinations, namely (a)

patrickwaynefarms@consultant.com; (b) patrickwaynefarms@outlook.com (c) 323 486-804

(text message) and (c) (204) 813-6903 (text message), no electronic “wrong number/wrong

address” messages having been received; (3) Wells Fargo Bank and BB & T Bank (Truist) by

Federal Express delivered September 21, 2020 and Fax to Wells Fargo September 23, 2020.

                    NO APPLICATION TO AMEND HAS BEEN RECEIVED

       No response has been received from anyone other than LinkedIn. As of this filing, JOHN

DOE has two days under Rule 65 (b) (4) – assuming his banks did not provide him notice in the


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last five business days – but this Motion is filed to comply with the Court’s three day advance

notice rule on Motions. The TRO expires, by its terms, September 30, 2020.

               REASONS EXTEND TEMPORARY RESTRAINING ORDER

       Rule 65 (b) (1) and (2) permit a Temporary Restraining Order without notice. This

motion for extension, however, is being made with notice. JOHN DOE will have adequate time

to appear on September 30, 2020.

       Wayne Farms submitted (Docket No. 11) a Motion and two Declarations with 14

Exhibits, the Court finding the submission sufficient (Docket No. 13) and issuing the TRO

(Docket 14). Since that time, while it appears that the fake Pat Gomez profile may have been

taken down (as it should be) there has, as yet, been no response from the banks or JOHN DOE.

Continuing the TRO “for like period” Rule 65 (b) (2) (second sentence.)

    THE COURT MAY ALTERNATIVELY ISSUE A PRELIMINARY INJUNCTION

       Alternatively, the Court may issue a Preliminary Injunction. The basis remains, there are

no new facts, other than it now appears the fake profile may have been taken down since the

filing of the Complaint. There remains past trademark and copyright infringement, breach of the

real Pat Gomez’s right of publicity and or right of privacy to prevent false information from

publication in order to solicit funds under false pretenses. As presented in the Complaint, the

fake profile may have been taken down in the past and put back, so

               LEGAL STANDARDS FOR PRELIMINARY INJUNCTIONS

       The elements for a Preliminary Injunction are the same as a Temporary Restraining Order

and the equities have not changed. Wayne Farms (1) is reasonably likely to succeed on the

merits; (2) has no adequate remedy at law; (3) will suffer irreparable harm absent injunctive

relief – balanced against minimal, if any, harm to JOHN DOE and (4) the injunction is in the



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public interest. See Joelner v. Vill. of Washington Park, Illinois, 378 F.3d 613, 619 (7th Cir.

2004); Long v. Bd. of Educ., Dist. 128, 167 F.Supp.2d. 988, 990 (N.D.Ill.2001) ("The standards

for issuing temporary restraining orders are identical to the standards for preliminary

injunctions.")” International Profit Associates Inc. v. Paisola, 461 F.Supp.2d 672 (N.D. Ill.,

2006) See also Ebay Inc. v. Mercexchange, L. L. C, 547 U.S. 388, 126 S. Ct. 1843, 164 L. Ed. 2d

625 (2006)

                                         CONCLUSION

       JOHN DOE’s fake profile and solicitation cannot be viewed as anything other than

calculated and intentional misappropriation having no justification whatsoever. The fake profile

has been up and down, and back up, at least once before. JOHN DOE was caught fairly quickly.

There is no reason to think that JOHN DOE would suffer anything other than having their

scheme halted. The public would be well served by continuing the injunction against JOHN

DOE. Accordingly, Wayne Farms respectfully prays that this Court extend the a Temporary

Restraining Order or convert it to a Preliminary Injunction on the same terms.

                                              Respectfully submitted,



Date: September 25, 2020                      By:
                                              David C. Brezina (ID3121581)
                                              Attorneys for Plaintiff, Wayne Farms LLC


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                                 CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing will be filed in the Northern
District of Illinois - CM/ECF LIVE, Document Filing System, which will forward copies thereof
to any counsel of record.

       I will also serve a copy by electronic mail to:

       (1) Defendant LinkedIn

           Jason Skaggs
           Skaggs Faucette
           530 Lytton Avenue
           2nd Floor
           Palo Alto CA 94301
           jason@skaggsfaucette.com

       (2) Defendant John Doe:
           patrickwaynefarms@consultant.com ; and
           patrickwaynefarms@outlook.com



Date of Signature: September 25, 2020
                                              David C. Brezina




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